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                                        September 25, 2018




The Honorable Lee H. Rosenthal, District Judge
United States Courthouse
515 Rusk Street, Room 11535
Houston, Texas 77002


        Re:     Case No. 16-cv-01414; ODonnell et al. v. Harris County, Texas et al.;
                In the U.S. District Court for the Southern District of Texas, Houston, Division

Dear Chief Judge Rosenthal:

In accordance with the Court’s Amended Preliminary Injunction, please find the September 15,
2018 through September 23, 2018 weekly report. Of 539 misdemeanor arrestees, there were a
total of 61 who were not present for their initial bail hearing, before a Hearing Officer, within 48
hours of arrest. Please see below:

                          Reason                                      Count
                          Medical-condition                              27
                          Mental-illness or Intellectual-disability      10

                          Other reason not present                       18

                          Hearing more than 48 hours after arrest         6


                                               Sincerely,

                                               /s/ Kate David

                                               Kate D. David
